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                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,              )
                            Plaintiff, )
                                       )
      vs.                              )              Case No. 13-40057-01-JAR
                                       )
JONATHAN KEARN,                        )
                           Defendant. )
____________________________________)

                             ORDER TO TOLL SPEEDY TRIAL

       NOW on this 13th day of September, 2013, the above-entitled matter comes before the

Court upon the“Joint Motion to Toll Speedy Trial” (Doc. 20). The Court has reviewed the motion

and is fully advised of the premises.

       The defendant’s expert in this matter has recently obtained access to the forensic evidence

and requires additional time to review the evidence and prepare a report. Additionally, counsel for

the accused is currently preparing for trial in the matter of United State vs. Hudson, Case No. 13-

20063-01-JWL, which is scheduled to begin on September 10, 2013, and is expected to last

approximately two weeks. Due to extensive trial preparation in that case, counsel requires additional

time to obtain the expert report and complete investigation in this case.

       Based on the detailed information set forth in the motion, the Court finds under 18 U.S.C.

§ 3161(h)(7)(B) that failure to grant a continuance would unreasonably deny the defendant the

reasonable time necessary for trial preparation, taking into account the exercise of due diligence.

The Court further finds that the ends of justice served by granting an extension of time outweigh the

best interests of the public and defendant in a speedy trial. United States v. Toombs, 574 F.3d 1262

(10th Cir. 2009).
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       IT IS THEREFORE ORDERED that the “Joint Motion to Toll Speedy Trial” is hereby

sustained.

       IT IS FURTHER ORDERED consolidated pretrial deadlines are set for October 31, 2013,

and the trial is rescheduled to begin January 7, 2014, at 9:00 a.m.

       IT IS FURTHER ORDERED that the period of delay resulting from such continuance shall

be excludable time as provided for by the Speedy Trial Act, 18 U.S.C. 3161(h)(7).

Dated: September 13, 2013
                                                       S/ Julie A. Robinson
                                                      JULIE A. ROBINSON
                                                      UNITED STATES DISTRICT JUDGE




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